                  IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               NORTHERN DIVISION

In re:                                          )
                                                )
MICHAEL G. DOMBROWSKI                           )           CASE NO.: 16-81412-CRJ-11
                                                )
                Debtor.                         )           CHAPTER 11
                                                )

               DEBTOR’S OBJECTION TO CLAIM OF BANK OF AMERICA

         COMES NOW Michael G. Dombrowski, as Chapter 11 Debtor-in-Possession (“Debtor”),
and objects to the filed claim of Bank of America (“Creditor”) [Claim # 17-1] on the grounds
that follow:


         1.            The Creditor has not updated its proof of claim on file since it was
                       originally filed, as required by the Debtor’s confirmed Plan of
                       Reorganization.
         2.            The Creditor has not recalculated its claim based on the revisions (term of
                       years and interest rate) as required by the Debtor’s confirmed Plan of
                       Reorganization.
         3.            The Creditor has improperly charged interest, attorney’s fees and other
                       charges on its claim.
         4.            The Creditor has failed or refused to provide timely and correct monthly
                       payment information to the Debtor, thus making it impossible for the
                       Debtor to make Plan payments to this Creditor.
         5.            Creditor has refused to communicate with the Debtor concerning this
                       claim.


         WHEREFORE, premises considered, the Debtor requests that, upon notice and a hearing,
this Honorable Court enter an Order: 1) requiring the Creditor to immediately correct, update and
amend its proof of claim; 2) requiring the Creditor to immediately provide timely and correct




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monthly payment information to the Debtor; and 3) granting such further relief as this Court
deems just and proper.

       Respectfully submitted this the 3rd day of October, 2019.


                                             /s/ Tazewell T. Shepard
                                             Tazewell T. Shepard
                                             Tazewell T. Shepard IV
                                             Attorneys for Debtor-in-Possession
                                             SPARKMAN, SHEPARD & MORRIS, P.C.
                                             P.O. Box 19045
                                             Huntsville, AL 35804
                                             Tel: (256) 512-9924


                                CERTIFICATE OF SERVICE

       This is to certify that I have this 3rd day of October, 2019, served the foregoing objection
on Donald M. Wright and Diane Murray, Attorneys for Creditor, Sirote & Permutt, PC, 2311
Highland Avenue South, Birmingham, AL 35205; Creditor Bank of America, P.O. Box 31785,
Tampa, FL 33631; and Richard Blythe, Office of the Bankruptcy Administrator, P.O. Box 3045,
Decatur, AL 35602 by electronic service through the Court’s CM/ECF system and/or by placing
a copy of same in the United States Mail, postage pre-paid.


                                                 /s/ Tazewell T. Shepard
                                                 Tazewell T. Shepard




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